Case 18-30777-hdh11 Doc 27 Filed 03/07/18           Entered 03/07/18 11:54:19             Page 1 of 4



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Attorneys for Healthcare Services Group, Inc.



                    IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

                                            §
In re:                                      §   Chapter 11
                                            §
4 WEST HOLDINGS, INC., et al.,              §   Case No. 18-30777
                                            §
                       Debtors.             §   (Joint Administration Requested)
                                            §

                             NOTICE OF APPEARANCE AND
                           REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that, pursuant to sections 102(1), 342 and 1109(b) of the

Bankruptcy Code and Bankruptcy Rules 2002, 3017(a), 9007 and 9010, the undersigned appear

as counsel for Healthcare Services Group, Inc. (“HSG”), a creditor and party-in-interest, and

request that all notices given or required to be served in this case be served upon the following

persons at the following addresses and that such persons be added to the mailing matrix in the

above-referenced case. Stevens & Lee and Munsch Hardt Kopf & Harr, P.C. hereby authorize

and agree to accept service via e-mail. All such notices should be addressed as follows:




NOTICE OF APPEARANCE – Page 1
Case 18-30777-hdh11 Doc 27 Filed 03/07/18            Entered 03/07/18 11:54:19         Page 2 of 4



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       and

       Robert Lapowsky
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       E-mail: rl@stevenslee.com

       PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

Bankruptcy Code, the request set forth above includes the notices and all other papers mentioned

or described in Bankruptcy Rules 2002, 3017(a) and 9010(b) and the Bankruptcy Rules

referenced or incorporated in Bankruptcy Rules 2002, 3017(a) and 9010(b) and also includes,

without limiting the generality of the foregoing request, all plans of reorganization and disclosure

statements and objections relating thereto, orders, pleadings, motions, applications, complaints,

demands, hearings, requests for hearings, petitions, answers, replies, responses, memoranda and

briefs in support of any of the foregoing and any other paper or document brought before or filed

with the Court with respect to this case, whether formal or informal and whether filed,

transmitted or conveyed by mail, overnight delivery, messenger, telephone, facsimile, e-mail or

otherwise filed or made with regard to the above-referenced case and proceedings therein.




NOTICE OF APPEARANCE – Page 2
Case 18-30777-hdh11 Doc 27 Filed 03/07/18             Entered 03/07/18 11:54:19         Page 3 of 4



       PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and Request for

Service of Papers shall not be deemed or construed to be a waiver of the rights of HSG: (1) to

have final orders in noncore matters entered only after de novo review by a United States District

Judge; (2) to trial by jury in any proceeding so triable in this case or in any case, controversy, or

proceeding related to this case; (3) to have the United States District Court withdraw the

reference in any matter subject to mandatory or discretionary withdrawal; (4) to contest

jurisdiction or appropriate venue in any case, controversy, or proceeding related to this case; or

(5) of any other rights, claims, actions, defenses, setoffs, or recoupments to which HSG is or may

be entitled, in law or in equity, all of which rights, claims, actions, defenses, setoffs, and

recoupments HSG expressly reserves. This Notice of Appearance and Request for Service of

Papers is not, and shall not be construed to be, a consent of HSG pursuant to 28 U.S.C. §

157(c)(2).

Dated: March 7, 2018                                  MUNSCH HARDT KOPF & HARR, P.C.

                                                 By: /s/ Deborah M. Perry
                                                      Deborah M. Perry
                                                      Texas Bar No. 24002755
                                                      500 N. Akard Street, Suite 3800
                                                      Dallas, Texas 75201-6659
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                                                      and




NOTICE OF APPEARANCE – Page 3
Case 18-30777-hdh11 Doc 27 Filed 03/07/18         Entered 03/07/18 11:54:19      Page 4 of 4



                                                  STEVENS & LEE
                                                  Robert Lapowsky
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                                                  E-mail: rl@stevenslee.com

                                                  ATTORNEYS FOR HEALTHCARE
                                                  SERVICES GROUP, INC.




                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 7th day of March 2018, a true and correct
copy of the foregoing document was served via ECF notification on all parties entitled to ECF
notification in this Bankruptcy Case.


                                                  /s/ Deborah M. Perry
                                                      Deborah M. Perry




NOTICE OF APPEARANCE – Page 4
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